                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MINNESOTA

JULIE FOX and PREENON HUQ,
                                   Court File No. 0:21-cv-00689
                    Plaintiffs,

v.                                 CLASS ACTION COMPLAINT

ALLY FINANCIAL INC.; ALPACA        JURY TRIAL DEMANDED
SECURITIES LLC; CASH APP
INVESTING LLC; SQUARE INC.;
DOUGH LLC; MORGAN STANLEY
SMITH BARNEY LLC; E*TRADE
SECURITIES LLC; E*TRADE
FINANCIAL CORPORATION;
E*TRADE FINANCIAL HOLDINGS,
LLC; ETORO USA SECURITIES, INC.;
FREETRADE, LTD.; INTERACTIVE
BROKERS LLC; M1 FINANCE, LLC;
OPEN TO THE PUBLIC INVESTING,
INC.; ROBINHOOD FINANCIAL, LLC;
ROBINHOOD MARKETS, INC.;
ROBINHOOD SECURITIES, LLC; IG
GROUP HOLDINGS PLC;
TASTYWORKS, INC.; TD
AMERITRADE, INC.; THE CHARLES
SCHWAB CORPORATION; CHARLES
SCHWAB & CO. INC.; FF TRADE
REPUBLIC GROWTH, LLC ; TRADING
212 LTD.; TRADING 212 UK LTD.;
WEBULL FINANCIAL LLC; FUMI
HOLDINGS, INC.; STASH FINANCIAL,
INC.; BARCLAYS BANK PLC;
CITADEL ENTERPRISE AMERICAS,
LLC; CITADEL SECURITIES LLC;
MELVIN CAPITAL MANAGEMENT
LP; SEQUOIA CAPITAL OPERATIONS
LLC; APEX CLEARING
CORPORATION; & THE DEPOSITORY
TRUST & CLEARING CORPORATION,

                    Defendants.
       Plaintiﬀs Julie Fox and Preenon Huq, on behalf of themselves and all others

similarly situated, bring this Class Action Complaint against Defendants for violations of

Section of the Sherman Act,       U.S.C. § , Section     of the Clayton Act,   U.S.C. §      ,

state antitrust and consumer protection laws, and the common law as follows:

                                    INTRODUCTION

       1.        is case is about the individual investors (the “Retail Investors”) who

invested their hard-earned money in the stock market and were stripped of the rights to

control their investments due to a large, overarching, conspiracy to prevent the market

from operating freely by artiﬁcially preventing Defendants from hemorrhaging losses that

would result from their highly speculative short selling strategies.

       2.     Retail Investors, or individual investors, are non-professional investors who

make individual investments on their own behalf. Retail Investors purchase assets such as

stocks, bonds, securities, mutual funds, and exchange traded funds (ETFs).      ey execute

personal trades through websites, apps and trading platforms provided by brokerage ﬁrms

or other investment service providers. Retail Investors tend to invest smaller amounts

compared to institutional investors.   ey have little ability to inﬂuence market prices or

market dynamics on their own.

       3.     Generally, Retail Investors pay brokerages a fee or commission for

personal trades to their brokerages.




                                             2
       4.     Some brokerages, like Defendant Robinhood, do not charge their user a fee

per transaction, but instead earn revenue through rebates, kickbacks, and other payments

from market makers like the Clearinghouse Defendants.

       5.     Some individual investors are members of online ﬁnancial discussion

forums on Reddit, Facebook, TikTok, and elsewhere. In these public forums, individual

investors share and discuss market research and observations and help like-minded peers

beneﬁt from their research, potentially identifying good opportunities for investment.

       6.     Based on their research and observations, the Retail Investors, through

stock brokerages, including the Brokerage Defendants, purchased and invested in certain

stocks—Gamestop (GME), AMC             eaters (AMC), American Airlines (AAL), Bed Bath

& Beyond (BBBY), Blackberry (BB), Express (EXPR), Koss (KOSS) Naked Brand

Group (NAKD), Nokia (NOK), Sundial Growers Inc. (SNDL), Tootsie Roll Industries

(TR), and Trivago NV (TRVG) (the “Relevant Securities”)— they believed would grow,

increase in price, and serve as good investment opportunities.

       7.     Several large hedge funds and investment ﬁrms, including Citadel

Enterprise Americas LLC, Citadel Securities LLC, Melvin Capital Management LP, and

unnamed co-conspirators, acquired and possessed massive “short” positions in the

Relevant Securities.

       8.     Short sellers borrow shares or other interests in corporate stock, securities,

or other assets. In so doing, they bet prices of the securities will decrease. If the stock

prices in fact drop, a short seller buys the stock back at a lower price and returns it to the




                                               3
lender. The difference between the sell price and the buy price is the profit. Short sellers

essentially bet on a stock’s failure or decline, rather than its success or increase in value.

       9.        e Fund Defendants and other unnamed co-conspirators made short

selling investments in the Relevant Securities. By doing this, they made highly

speculative bets. When the Relevant Securities increased in value, due in large part to

Retail Investors’ purchases of the Relevant Securities and the increased stock prices, the

Fund Defendants, Clearinghouse Defendants, and unnamed co-conspirators were exposed

to potential losses of several billion dollars.

       10.     As Retail Investors and others continued to purchase the Relevant

Securities, the Fund Defendants, Clearinghouse Defendants, and unnamed co-

conspirators were caught in a classic “short squeeze.” A “short squeeze” occurs when a

stock or other asset rises sharply in value, distressing short positions. Short selling

investors are faced with a rapid increase in the shorted asset’s value, exposing the short

seller to increased and theoretically limitless loss. As the price of the asset rises, short

sellers may face pressure to buy back stock to exit their short positions to mitigate their

potential losses. In the absence of intervention, as short sellers exit their short positions to

buy back stocks to cover their shorts, the purchase of stock further increases the price of

the stock, thereby building a positive feedback loop that pressures more short sellers to

buy back stock at increasingly expensive prices.

       11.       e Brokerage Defendants, Fund Defendants, and Clearinghouse

Defendants (together the “Defendants”) conspired to prevent the Retail Investors from




                                                  4
buying any further stock and forcing Retail Investors to sell their Relevant Securities to

artiﬁcially suppress stock prices of the Relevant Securities.

       12.    On January     ,     , after the close of the stock market and before the open

of the market the next day, the Fund Defendants coordinated and planned increased short

volumes in anticipation of short calls on January    ,     .

       13.       e Brokerage Defendants disabled all buy features on platforms, websites,

and mobile applications under their control and/or ownership for the Relevant Securities,

thereby leaving the Retail Investors with no choice but to sell or hold their rapidly

depreciating stocks.   e Brokerage Defendants disabled the buy features to ensure the

stock prices for the Relevant Securities declined for the beneﬁt of the hedge funds owned

or associated with the Brokerage Defendants, in furtherance of the conspiracy. Other

Brokerage Defendants displayed loading graphics on the landing pages for these Relevant

Securities to prevent users from purchasing any more Relevant Securities. Plaintiﬀs and

Class members faced with an imminent price decline of their positions in the Relevant

Securities—because of the inability of Retail Investors to purchase shares—were

pressured to sell their shares in the Relevant Securities at a lower price than they

otherwise would have. Additionally, Defendants prevented Class members from

purchasing more stock in the Relevant Securities.

       14.       e Defendants and their co-conspirators forced Retail Investors to choose

between selling the Relevant Securities at a lower price or holding their rapidly declining

positions in the Relevant Securities. Defendants did so to drive down the price of the

Relevant Securities.


                                              5
       15.     Defendants and their co-conspirators conspired to prevent the Retail

investors from buying further stock in order to mitigate the Fund Defendants’ exposure in

their short positions. By forcing the Retail Investors to sell their Relevant Securities at

lower prices than they otherwise would have, Defendants artiﬁcially reduced the value of

the Relevant Securities the Retail Investors either sold or held.

                         JURISDICTION AND VENUE

       16.     Plaintiﬀs bring this action on their own behalf as well on behalf of the

members of the Class to recover damages, including treble damages, costs of suit, and

reasonable attorneys’ fees arising from Defendants’ violations of Section of the

Sherman Act,     U.S.C. § , Section      of the Clayton Act,    U.S.C. §     , as well as any

and all equitable relief aﬀorded under the federal laws pleaded herein.

       17.       is Court has federal question jurisdiction pursuant to      U.S.C. §

because the case arises under the Constitution, laws, or treaties of the United States.

       18.       is Court also has subject matter jurisdiction pursuant to     U.S.C.

§§     (d) and      , in that (a) this is a class action in which the matter or controversy

exceeds the sum of $ ,     ,    , exclusive of interest and costs, and in which some

members of the proposed Class are citizens of a state diﬀerent from some defendants; and

(b) Plaintiﬀs’ state law claims form part of the same case or controversy as their federal

claims under Article III of the United States Constitution.

       19.     Jurisdiction and venue are proper in this judicial District pursuant to

U.S.C. §      (b) and (c), because a substantial part of the events giving rise to Plaintiﬀs’

claims occurred in this District and a substantial portion of the aﬀected interstate trade


                                              6
and commerce was carried out in this District. Each Defendant has transacted business,

maintained substantial contacts, or committed overt acts in furtherance of the illegal

scheme and conspiracy throughout the United States, including in this District.         e

conspiracy has been directed at, and has had the intended eﬀect of, causing injury to

persons residing in, located in, or doing business throughout the United States, including

in this District.

       20.          is Court has personal jurisdiction over each Defendant because each

Defendant: (a) transacted business throughout the United States, including in this District;

(b) transacted in substantial amounts of the Relevant Securities throughout the United

States; (c) had substantial contacts with the United States, including this District; and/or

(d) engaged in an antitrust conspiracy that was directed at and had a direct, foreseeable,

and intended eﬀect of causing injury to the business or property of persons residing in,

located in, or doing business throughout the United States, including in this District.

       21.          e activities of the Defendants and all co-conspirators—whether unnamed

or as of yet unknown—as described herein, were within the ﬂow of, were intended to,

and did have direct, substantial, and reasonably foreseeable eﬀects on the foreign and

interstate commerce of the United States.

                                          PARTIES

A.     Plaintiff Julie Fox

      22.       Plaintiﬀ Julie Fox at all relevant times was a resident of Litchﬁeld,

Minnesota.




                                               7
         23.    Plaintiﬀ Fox has had an active account with Defendant Robinhood since

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         24.    In the early morning of January   ,     , before the market opening,

Plaintiﬀ Fox put in an order through Defendant Robinhood for $        worth of Gamestop

(GME) stock that was supposed to be executed at open.

         25.    Plaintiﬀ Fox’s order never was executed. Instead, she received a message

from Defendant Robinhood explaining her order had been unilaterally cancelled by

Defendant Robinhood without her knowledge or consent.

         26.    On January    ,     , Plaintiﬀ Fox used Defendant Robinhood’s services to

purchase       shares of AMC stock for an average value of $ .    per share. She also

purchased a single share of GME stock—the maximum amount of GME stock Defendant

Robinhood allowed her to purchase.

         27.    Plaintiﬀ Fox was subsequently prevented by Defendant Robinhood from

selling her AMC shares later that day.

         28.    As of the date of this ﬁling, AMC’s stock price is now signiﬁcantly less

than what it was when Plaintiﬀ Fox made her purchase.

         29.    Plaintiﬀ Fox subsequently sold her share of GME stock at a     % loss.

B.       Plaintiff Preenon Huq

         30.    Plaintiﬀ Preenon Huq at all relevant times was a resident of Plymouth,

Minnesota.

         31.    Plaintiﬀ Huq at all relevant times had an active account with Defendant

Robinhood.


                                              8
      32.       On January    ,     , Plaintiﬀ Huq attempted to buy shares of AMC stock

with his Robinhood account but was prevented from doing so because Defendant

Robinhood had deactivated the “buy” features on its application due to the

anticompetitive conspiracy.

      33.       Plaintiﬀ Huq was unable to search for the Relevant Securities on Defendant

Robinhood’s platform on January       ,     . Defendant Robinhood went so far as to make

it appear that AMC stock did not exist on its platform.

C.     Brokerage Defendants

             a. Defendant Ally Financial Inc.

       34.      Defendant Ally Financial Inc. (“Ally”) is a Delaware corporation, with its

headquarters located at Ally Detroit Center       , Woodward Ave., Floor   , Detroit,

Michigan. Ally provides ﬁnancial services including an electronic trading platform to

trade ﬁnancial assets. Ally sold Relevant Securities directly to members of the Class

during the Class Period.

             b. Defendant Alpaca Securities LLC

       35.      Defendant Alpaca Securities LLC (“Alpaca”) is a Delaware corporation,

with its headquarters at 20 N San Mateo Drive Suite 10, San Mateo, California. Alpaca

provides ﬁnancial services including an electronic trading platform to trade ﬁnancial

assets. Alpaca sold Relevant Securities directly to members of the Class during the Class

Period.

             c. Defendant Cash App

       36.      Defendant Cash App Investing LLC (“Cash App Investing”) is a Delaware


                                              9
corporation headquartered at 920, SW 6th Avenue Ste. 1200, Portland, Oregon. Cash App

Investing is a wholly owned subsidiary of Square Inc. Cash App Investing provides

financial services including an electronic trading platform to trade financial assets. Cash

App Investing sold Relevant Securities directly to members of the Class during the Class

Period. Square Inc. and Cash App Investing LLC are referred collectively as “Cash App.”

       37.      Defendant Square Inc. is a Delaware corporation with its headquarters

located at 1455 Market Street, Suite 600, San Francisco, California.

             d. Defendant Dough

       38.      Defendant Dough LLC (“Dough”) is a Delaware limited-liability

corporation, with its headquarters located at 327 N. Aberdeen Street, Chicago, Illinois.

Dough provides ﬁnancial services including an electronic trading platform to trade

ﬁnancial assets. Dough sold Relevant Securities directly to members of the Class during

the Class Period.

             e. Defendant E*Trade

       39.      Defendant Morgan Stanley Smith Barney LLC (“Morgan Stanley”) is a

Delaware limited-liability corporation and parent company of E*Trade, with its

headquarters located at 1585 Broadway Avenue, New York, New York. Morgan Stanley is

the owner and ultimate parent of E*Trade Securities LLC, E*Trade Financial

Corporation, and E*Trade Financial Holdings. Morgan Stanley, E*Trade Securities LLC,

E*Trade Financial Corporation, and E*Trade Financial Holdings are collectively referred

to as “E*Trade.”

       40.      Defendant E*Trade Securities LLC is a Delaware limited-liability


                                             10
corporation, with its headquarters at 671 North Glebe Road, Ballston Tower, Arlington,

Texas.

         41.      Defendant E*Trade Financial Corporation is a Delaware corporation, with

its headquarters at 671 North Glebe Road, Ballston Tower, Arlington, Texas.

         42.      Defendant E*Trade Financial Holdings, LLC is a Delaware limited-

liability corporation, with its headquarters at 671 North Glebe Road, Ballston Tower,

Arlington, Texas.

               f. Defendant eToro

         43.      Defendant eToro USA Securities, Inc. (“eToro”) is a Delaware corporation

and owner of the application eToro, headquartered at 221 River St., 9th floor, Hoboken,

New Jersey. eToro provides financial services including an electronic trading platform to

trade financial assets. eToro sold Relevant Securities directly to members of the Class

during the Class Period.

               g. Defendant Freetrade

         44.      Defendant Freetrade, Ltd. (“Freetrade”) is a company incorporated in the

United Kingdom, headquartered at 32-38 Leman Street, London, United Kingdom.

Freetrade provides financial services including an electronic trading platform to trade

financial assets. Freetrade sold Relevant Securities directly to members of the Class

during the Class Period.

               h. Defendant Interactive Brokers

         45.      Defendant Interactive Brokers LLC (“Interactive Brokers”) is a Delaware

limited-liability corporation headquartered at 1 Pickwick Plaza, Greenwich, Connecticut.


                                               11
Interactive Brokers provides financial services including an electronic trading platform to

trade financial assets. Interactive Brokers sold Relevant Securities directly to members of

the Class during the Class Period.

             i. Defendant M1 Finance

       46.      Defendant M1 Finance, LLC (“M1 Finance”) is a Delaware corporation

headquartered at 200 North La Salle Street, Suite 800, Chicago, Illinois. M1 Finance

provides financial services including an electronic trading platform to trade financial

assets. M1 Finance sold Relevant Securities directly to members of the Class during the

Class Period.

             j. Defendant Public.com

       47.      Defendant Open To The Public Investing, Inc. (“Public.com”) is a New

York corporation, headquartered at 1 State Street Plaza, 10th Floor, New York, New York.

Public.com provides financial services including an electronic trading platform to trade

financial assets. Public.com sold Relevant Securities directly to members of the Class

during the Class Period.

             k. Defendant Robinhood

       48.      Defendant Robinhood Markets, Inc. is a Delaware corporation with its

principal place of business at 85 Willow Road, Menlo Park, California. Defendant

Robinhood Markets, Inc. is the corporate parent of and controls the affairs of Defendants

Robinhood Financial, LLC and Robinhood Securities, LLC.

       49.      Defendant Robinhood Financial, LLC is a Delaware corporation with its

principal place of business at 85 Willow Road, Menlo Park, California. It is a wholly-


                                            12
owned subsidiary of Robinhood Markets, Inc.

       50.      Defendant Robinhood Securities, LLC is a Delaware corporation with its

principal place of business at 500 Colonial Center Parkway, Suite 100, Lake Mary,

Florida. It is a wholly owned subsidiary of Defendant Robinhood Markets, Inc.

Defendant Robinhood Financial (collectively, with Robinhood Financial, LLC and

Robinhood Markets, Inc. as “Robinhood”).

       51.      Robinhood provides financial services including an electronic trading

platform to trade financial assets. Robinhood sold Relevant Securities directly to

members of the Class during the Class Period.

             l. Defendant Stash

       52.      Defendant Barclays Bank PLC is a company incorporated in the United

Kingdom, and headquartered at 745 7th Ave New York, New York. Barclays Bank PLC is

the ultimate corporate parent of, and controls the affairs of Stash Financial, Inc.

       53.      Defendant Stash Financial, Inc. (“Stash”) is a Delaware corporation and

owner of the application Stash, headquartered at 500 7th Avenue,18th Floor, New York,

New York. Stash is a wholly-owned subsidiary of Barclays Bank PLC. Stash provides

financial services including an electronic trading platform to trade financial assets. Stash

sold Relevant Securities directly to members of the Class during the Class Period.

             m. Defendant Tastyworks

       54.      Defendant IG Group Holdings PLC is a Delaware public limited company

and ultimate corporate parent of and controls the affairs Tastyworks, Inc., headquartered

at 200 West Jackson Blvd., Suite 1450, Chicago, Illinois.


                                             13
       55.      Defendant Tastyworks, Inc. is a Delaware corporation and wholly-owned

subsidiary of IG Group Holdings PLC, headquartered at 100 West Fulton Market Street,

Suite 220, Chicago, Illinois (IG Holdings and Tastyworks, Inc. collectively,

“Tastyworks”).

       56.      Tastyworks provides financial services including an electronic trading

platform to trade financial assets. Tastyworks sold Relevant Securities directly to

members of the Class during the Class Period.

             n. Defendant TD Ameritrade

       57.      Defendant The Charles Schwab Corporation is a Delaware corporation

with its principal place of business at 211 Main Street, San Francisco, California. The

Charles Schwab Corporation is the ultimate corporate parent of and controls the affairs of

Charles Schwab & Co., Inc. and TD Ameritrade Inc.

       58.      Defendant Charles Schwab & Co. Inc. is a California corporation with its

principal place of business at 211 Main Street, San Francisco, California. Charles Schwab

& Co. Inc. is a wholly owned subsidiary of The Charles Schwab Corporation.

       59.      Defendant TD Ameritrade, Inc., is a New York corporation with its

principal place of business in Illinois. As of October 2020, The Charles Schwab

Corporation acquired TD Ameritrade, Inc. The Charles Schwab Corporation, Charles

Schwab & Co., Inc. and TD Ameritrade, Inc. collectively, “TD Ameritrade.” TD

Ameritrade provides financial services including an electronic trading platform to trade

financial assets. TD Ameritrade sold Relevant Securities directly to members of the Class

during the Class Period.


                                             14
             o. Defendant Trade Republic

       60.      Defendant FF Trade Republic Growth, LLC (“Trade Republic”) is a

Delaware corporation, headquartered at One Letterman Drive, Building D, 5th Floor, San

Francisco, California. Trade Republic provides financial services including an electronic

trading platform to trade financial assets. Trade Republic sold Relevant Securities directly

to members of the Class during the Class Period.

             p. Defendant Trading 212

       61.      Defendant Trading 212 Ltd. is a Bulgarian company headquartered at 3

Lachezar Stanchev Str., Litex Tower, Floor 10, Sofia 1797, Bulgaria. Trading 212 Ltd. is

the ultimate corporate parent of and controls the affairs of Trading 212 UK Ltd.

       62.      Defendant Trading 212 UK Ltd. is a company incorporated in the United

Kingdom headquartered at 107 Cheapside, London, United Kingdom. Trading 212 UK

Ltd. a wholly-owned subsidiary of Trading 212 Ltd. (Trading 212 Ltd. and Trading 212

UK Ltd. collectively, “Trading 212”). Trading 212 provides financial services including

an electronic trading platform to trade financial assets. Trading 212 sold Relevant

Securities directly to members of the Class during the Class Period.

             q. Defendant WeBull

       63.      Defendant Fumi Holdings, Inc. is a Chinese corporation. Fumi Holdings,

Inc. and headquartered in Hunan, China. Fumi Holdings, Inc. is the corporate parent of,

and controls the affairs of WeBull Financial LLC.

       64.      Defendant WeBull Financial LLC (“WeBull”) is a Delaware corporation

and wholly-owned subsidiary of Fumi Holdings, Inc., headquartered at 44 Wall Street,


                                            15
Ste 501, New York, New York. WeBull is a wholly-owned subsidiary of Fumi Holdings,

Inc. WeBull provides financial services including an electronic trading platform to trade

financial assets. WeBull sold Relevant Securities directly to members of the Class during

the Class Period.

D.     The Fund Defendants

             a. Defendant Citadel

       65.      Defendant Citadel Enterprise Americas LLC (“Citadel”) is a Delaware

limited-liability corporation, headquartered at 131 South Dearborn Street, Chicago,

Illinois. Citadel Enterprise Americas LLC is the corporate parent of, and controls the

affairs of Citadel Securities LLC.

       66.      Defendant Citadel Securities LLC is a Delaware limited-limited

corporation, headquartered at 131 South Dearborn Street, Chicago, Illinois. Citadel

Securities LLC is a wholly-owned subsidiary of Citadel Enterprise Americas LLC.

Citadel Enterprise Americas, LLC and Citadel Securities LLC collectively, “Citadel.”

       67.      Defendant Citadel took short positions in the Relevant Securities. Citadel

actively participated in the conspiracy and the wrongful acts alleged herein.

             b. Defendant Melvin Capital

       68.      Defendant Melvin Capital Management LP ( “Melvin Capital”) is a

Delaware limited partnership headquartered at 535 Madison Avenue, 22nd Floor, New

York, New York.

       69.      Defendant Melvin Capital took short positions in the Relevant Securities.

Melvin Capital actively participated in the conspiracy and the wrongful acts alleged


                                             16
herein.

                c. Defendant Sequoia

          70.      Defendant Sequoia Capital Operations LLC (“Sequoia”) is a Delaware

limited-liability corporation, headquartered at 2800 Sand Hill Road, Suite 101, Menlo

Park, California.

          71.      Defendant Sequoia actively participated in the conspiracy and the wrongful

acts alleged herein.

E.        Clearinghouse Defendants

                a. Defendant Apex

          72.      Defendant Apex Clearing Corporation (“Apex”) is a New York corporation

headquartered at One Dallas Center, 350 N. St. Paul, Suite 1300, Dallas, Texas.

          73.      Defendant Apex participated in the conspiracy and the wrongful acts

alleged herein.

                b. Defendant Depository Trust & Clearing Corporation

          74.      Defendant The Depository Trust & Clearing Corporation (“DTCC”) is a

New York company headquartered at 55 Water Street, New York, New York.

          75.      Defendant DTCC participated in the conspiracy and the wrongful acts

alleged herein.

                            AGENTS AND CO-CONSPIRATORS

          76.      The anticompetitive and unlawful acts alleged against the Defendants in

this class action complaint were authorized, ordered, or performed by the Defendants’

respective officers, agents, employees, representatives, or shareholders while actively


                                                17
engaged in the management, direction, or control of the Defendants’ businesses or affairs.

       77.     The Defendants’ agents operated under the explicit and apparent authority

of their principals.

       78.     Each Defendant, and its subsidiaries, affiliates and agents operated as a

single unified entity.

       79.     Various persons and/or firms not named as Defendants herein may have

participated as co-conspirators in the violations alleged herein and may have performed

acts and made statements in furtherance thereof.

       80.     Each Defendant acted as the principal, agent, or joint venture of, or for

other Defendants with respect to the acts, violations, and common course of conduct

alleged herein.

                           CLASS ACTION ALLEGATIONS

       81.     Plaintiffs bring this action for damages and injunctive relief on behalf of

themself and all others similarly situated as a class action pursuant to Rules 23(a), (b)(2)

and (b)(3) of the Federal Rules of Civil Procedure, on behalf of the following Class:



          All persons or entities in the United States that directly purchased, or

          attempted to purchase, securities in GameStop Corp. (GME), AMC

          Entertainment Holdings Inc. (AMC), American Airlines Group Inc.

          (AAL), Bed Bath & Beyond Inc. (BBBY), BlackBerry Ltd. (BB),

          Express, Inc. (EXPR), Koss Corporation (KOSS), Naked Brand Group

          Ltd. (NAKD), Nokia Corp. (NOK), Sundial Growers Inc. (SNDL),


                                             18
         Tootsie Roll Industries, Inc. (TR), or Trivago N.V. (TRVG) from one or

         more of the Defendants between January 1, 2021 through and until the

         anticompetitive effects of Defendants’ unlawful conduct cease (the

         “Class Period”).

       82.    This Class definition specifically excludes the following person or entities:

                     a.      Any of the Defendants named herein;

                     b.      Any of the Defendants’ co-conspirators;

                     c.      Any of Defendants’ parent companies, subsidiaries, and

                     affiliates;

                     d.      Any of Defendants’ officers, directors, management,

                     employees, subsidiaries, affiliates, or agents;

                     e.      All governmental entities; and

                     f.      The judges and chambers staff in this case, as well as any

                     members of their immediate families.

       83.    Plaintiffs do not know the exact number of Class members, because such

information is in Defendants’ exclusive control. Plaintiffs are informed and believe, due

to the nature of the trade and commerce involved, there are millions of Class members

geographically dispersed throughout the United States and elsewhere, such that joinder of

all Class members in the prosecution of this action is impracticable.

       84.    Plaintiffs’ claims are typical of the claims of their fellow Class members

because Plaintiffs directly purchased or attempted to purchase stocks and instruments via

the Brokerages. Plaintiffs and all Class members were damaged by the same wrongful

                                             19
conduct of Defendants as alleged herein, and the relief sought herein is common to all

members of the Class.

       85.    Plaintiffs will fairly and adequately represent the interests of the Class

because they purchased or attempted to purchase the Relevant Securities directly from the

one or more of the Defendants and have no conflicts with any other members of the

Class. Furthermore, Plaintiffs have retained sophisticated and competent counsel who are

experienced in prosecuting antitrust class actions, as well as other complex litigation.

       86.    Numerous questions of law or fact common to the entire Class—including,

but not limited to those identified below—arise from Defendants’ anticompetitive and

unlawful conduct:

                 a. whether Defendants combined or conspired with one another to

                     artificially suppress prices for the Relevant Securities at any time

                     during the Class Period to purchasers in the United States;

                 b. whether Defendants combined or conspired with one another to fix,

                     raise, maintain, stabilize, and/or suppress prices for Relevant

                     Securities at any time during the Class Period to purchasers in the

                     United States;

                 c. whether Defendants’ conduct caused the prices of the Relevant

                     Securities, sold or held by the Retail Investors in the United States at

                     any time during the Class Period to be artificially fixed, suppressed,

                     maintained or stabilized;

                 d. whether Plaintiffs and the other members of the Class were injured


                                             20
                      by Defendants’ conduct and, if so, the appropriate Class-wide

                      measure of damages; and

                  e. whether Plaintiffs and other members of the Class are entitled to,

                      among other things, injunctive relief, and, if so, the nature and extent

                      of such relief.

       87.     These and other questions of law and fact are common to the Class and

predominate over any questions affecting the Class members individually.

       88.     Defendants have acted on grounds generally applicable to the Class,

thereby making final injunctive relief appropriate with respect to the Class as a whole.

This class action is superior to alternatives, if any, for the fair and efficient adjudication

of this controversy. Prosecuting the claims pleaded herein as a class action will eliminate

the possibility of repetitive litigation. There will be no material difficulty in the

management of this action as a class action.

       89.     The prosecution of separate actions by individual Class members would

create the risk of inconsistent or varying adjudications, establishing incompatible

standards of conduct for Defendants.

                               FACTUAL ALLEGATIONS

       90.     Retail Investors participate in online financial discussion forums, including

but not limited to Reddit, Facebook, and TikTok. Through these forums, and elsewhere,

Retail Investors are able to trade information about their market observations and help

like-minded peers benefit from their research. During the Relevant Period, Retail

Investors communicated and exchanged information regarding the Relevant Securities.


                                               21
        91.    Based on their research, the Retail Investors, through stockbrokers such as

the Brokerage Defendants, invested in the Relevant Securities they believed would

increase in price.

        92.    The Fund Defendants and unnamed co-conspirators purchased and held

“short” positions in the Relevant Securities. By the nature of the short positions, the Fund

Defendants, the Clearinghouse Defendants, and certain unnamed co-conspirators stood to

benefit and substantially profit were the prices of the Relevant Securities to decrease.

Short-selling is highly speculative. In a free and open market, there would be substantial

financial risk that prices might increase causing the short sellers to cover the contract at a

loss.

        93.    The Fund Defendants, Clearinghouse Defendants, and unnamed co-

conspirators predicted incorrectly. The Relevant Securities grew in value, thereby

exposing the Defendant Funds and Clearing Houses to billions of dollars in losses.

        94.    Rather than facing the consequences of their risky bets, the Fund

Defendants, Clearinghouse Defendants, and their co-conspirators entered into an

agreement and conspiracy to prevent the market from operating freely by preventing a

decrease in the prices of the Relevant Securities thereby avoiding their own financial loss,

to the financial detriment of Plaintiffs and the members of the Class.

        95.    Defendants’ conspiracy has drawn congressional scrutiny. On February         ,

    , the House Financial Services Committee held the ﬁrst of what is expected to be

several hearings related to Defendants’ January     ,      trading restrictions. Chairwoman




                                              22
Maxine Waters announced she expects to hold at least two more hearings related to the

trading restrictions.

                                        Background


       96.      Retail Investors or individual investors are non-professional investors who

execute personal trades through brokerage firms or investment accounts.

       97.      Retail Investors discuss and exchange information regarding investments

including the Relevant Securities on financial discussion forums on public social

networking sites like Reddit, Facebook, Twitter, TikTok and Discord.

       98.      Many of the Brokerage Defendants represented to the Retail Investors they

were offering free brokerage services to facilitate fair trading in the stock market.

       99.      The Brokerage Defendants are stockbrokers running online platforms from

which Plaintiffs and other Retail Investors directly purchase and sell securities during the

Class Period.

       100.     The Retail Investors identified as early as 2019 that Gamestop’s (GME)

stock value was lower than they expected it to be based on Gamestop’s publicly available

financial disclosures and future prospects.

       101.     For example, despite Gamestop being a brick-and-mortar store specializing

in video games that can now be downloaded from a person’s home, Gamestop possessed

ample cash reserves and was regularly paying off its debts and was presented new

opportunity with the release of the next generation of gaming platforms. Despite these

facts, in 2019, Gamestop’s stock was valued as low as $3 per share. Retail Investors



                                              23
correctly deduced Gamestop was undervalued because large financial institutions had

taken large short positions, essentially betting on Gamestop’s failure. Due to Gamestop’s

low stock price, the Retailer Investors correctly determined Gamestop represented an

investment opportunity.

       102.   Retail Investors invested in the other Relevant Securities in addition to

Gamestop based on their valuation and anticipated business performance. For example,

Retail Investors invested in Nokia (NOK) because Nokia, which had historically focused

its business on the manufacture and sale of mobile phone handsets, had been expanding

in other industries, including investing in 5G communication networks, including towers

and other infrastructure.

       103.   Like other Retail Investors, Plaintiffs purchased “long” positions in these

companies, including stocks, option contracts, and other securities.

       104.   In a free and open market, stock prices are determined by the laws of

supply and demand as purchasers and sellers bid and ask stock prices. As more investors

buy a certain stock, and bid up the stock’s prices, the market price for the stock rises.

Conversely, as investors sell stock, the stock price is bid down and the market price for

the stock declines.

       105.   If an investor has long positions, it means the investor has bought and owns

those shares of stocks. This is in contrast to a short position, where the investor owes

those stocks to someone, but does not actually own them yet. Investors holding long

positions generally own the stock with the expectation that it will rise in value and it will

be worth more than they paid for it. When the investor sells a long position, the profit or


                                             24
loss from the same is the difference between the purchase price of the security and the

sale price of the security.

       106.    Retail Investors took long positions in the Relevant Securities with the

expectation that the stock would increase in value, generally because they believed the

respective companies’ business prospects were improving. Investors in the Relevant

Securities generally believed they were good investment opportunities, and that prices of

their securities would rise as can be expected when a market is operating freely, without

fraud, conspiracy, or manipulation.

       107.    Institutional investors, including the Fund Defendants and unnamed co-

conspirators, acquired massive “short” positions in the Relevant Securities.

       108.    As indicated above, “short” sellers borrow shares of an asset they believe

will fall in price only to buy them after the asset depreciates in value. Short sellers

essentially bet on an asset’s failure rather than its success. Profit is made in the difference

between the value lost at the time sold versus when the time when the short position is

bought. For example, a short seller borrows a share of Company X (for a fee) from a

broker which is presently valued at $10. The short seller immediately sells the share and

waits for the value of the share to drop. The share price then falls to $4. The short seller

then purchases the share at the reduced value of $4 and returns it to the lender and earns

the difference of $6. Short sales are often time limited. On the other hand, if the price of

the share rises to $20, the short seller would need to purchase the share at $20 to return it

to the lender, thereby incurring a loss of $10.




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       109.    To a short seller, the more a stock price increases, the greater the loss to the

short seller. The theoretical loss to a short investor who predicts wrongly is potentially

infinite. Should a short seller want to exit a short position in the face of rapidly increasing

stock price, they must “buy back” the stock at the higher price to return to the institution

they borrowed the share from. Risk from bad short selling investments is potentially

ruinous and catastrophic.

       110.    On the other hand, an investor who purchases a stock “long” is limited to a

maximum loss of the price of an asset potentially decreasing to zero.

       111.    Defendant Melvin Capital, for example, shorted approximately 140% of

Gamestop’s total stock. The practice of short selling more shares than exists is itself an

illegal practice known as “naked shorting.” In a “naked” short sale, a seller does not

borrow or arrange to borrow the necessary securities in time to deliver them to the buyer

within the standard three-day settlement period. Although abusive, “naked” short selling

is not defined in the federal securities laws, it refers generally to selling short without

having stock available for delivery and intentionally failing to deliver stock within the

standard three-day settlement period.

       112.    As a result of Retail Investors purchasing long positions in the Relevant

Securities, the stock price of these companies began to rise. As the value of the Relevant

Securities increased, this resulted in a “short squeeze.”

       113.    A short squeeze occurs when a stock or other asset rises sharply in value,

distressing short positions in the asset. A short squeeze is when investors in short

positions are faced with a rapid increase in the shorted asset’s value, exposing the short


                                              26
seller to increased loss. As the price of the asset rises, short sellers may face pressure to

buy back stock to exit their short positions to mitigate their losses. In the absence of

intervention, as short sellers exit their short positions to buy back stocks to cover their

shorts, the purchase of stock further increases the price of the stock.

       114.    For example, with regard to Gamestop, a popular Reddit user who also

creates content on YouTube under the handle Roaring Kitty (“Roaring Kitty”) had reason

to believe hedge funds had entered into these short positions with respect to Gamestop’s

stock. Based on his own financial analysis, Roaring Kitty determined Gamestop was

actually undervalued due to coordinated shorting of Gamestop by numerous funds and

made an initial purchase of $50,000 of Gamestop stock and published his investments on

the Reddit financial discussion forum WallStreetBets.

       115.    WallStreetBets is a public financial discussion forum on Reddit.

WallStreetBets is characterized by a culture centered around discussion of financial

investments and memes. Many users on WallStreetBets are sophisticated, financially

savvy Retail Investors with business acumen.

       116.    Roaring Kitty regularly updated and continued to publish information and

analysis that Gamestop stocks were undervalued. In August 2020, Roaring Kitty posted

an in-depth analysis of Gamestop’s stock on his YouTube channel, walking his

subscribers through his extensive analysis of the value proposition of the stock.

       117.    Attention to Gamestop’s stock was not limited to online financial

communities and discussion forums. Dr. Michael Burry (who gained fame for his

investment decisions in relation with correctly predicting the 2008 financial crisis as


                                              27
presented in the film The Big Short) and his investment firm Scion Asset Management,

LLC spent nearly $15 million to purchase stock in Gamestop in 2019 at share prices

between $2 and $4.20 per share for a 5% ownership position in Gamestop. Retail

Investors took notice and Gamestop’s price steadily increased.

       118.   Ryan Cohen, the co-founder and former CEO of the pet e-commerce

website Chewy.com, invested $76 million and acquired a 12.9% stake in Gamestop in

2020. Several Retail Investors were optimistic about Ryan Cohen’s involvement in

Gamestop, who joined the board of directors on January 11, 2021.

       119.   Institutional investors, holding large short positions in Gamestop’s stock

and other Relevant Securities began to push back and attempted to message on media and

elsewhere that the Relevant Securities were not as valuable as the Retail Investors

thought. For example, on January 21, 2021, when Gamestop was valued at approximately

$20 per share, Andrew Left, the founder of Citron Research, a capital research and

investment firm, gave an interview explaining why he was shorting Gamestop.

       120.   In response, Retail Investors further went long on Gamestop and other

Relevant Securities. Given the operation of a free and open market, the prices of

Gamestop and other Relevant Securities was bid up and prices increased. This exposed

short sellers in those stocks, including the Fund Defendants, to substantial loses. It was a

textbook short squeeze.

       121.   On January 21, 2021, the Relevant Securities’ stock prices increased

substantially. For example, on January 8, 2021, Gamestop’s stock was priced at $17.69

per share. On January 27, 2021, driven by investments from Retail Investors, Gamestop’s


                                             28
stock closed at $347.51. Other Relevant Securities experienced similar increases.

      122.    The figure below summarizes the prices of Gamestop’s stock from

December 28, 2020 through January 29, 2021.




                                           29
      123.   The figure below summarizes the prices of Nokia Corporation’s stock from

December 28, 2020 through January 29, 2021.




      124.   The figure below summarizes the prices of American Airlines Group Inc.’s

stock from December 28, 2020 through January 29, 2021.




                                         30
      125.   The figure below summarizes the prices of Sundial Growers Inc.’s stock

from December 28, 2020 through January 29, 2021.




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      126.   The figure below summarizes the prices of Naked Brand Group Limited’s

stock from December 28, 2020 through January 29, 2021.




      127.   The figure below summarizes the prices of AMC Entertainment Holdings,

Inc.’ stock from December 28, 2020 through January 29, 2021.




                                         32
      128.   The figure below summarizes the prices of Koss Corporation’s stock from

December 28, 2020 through January 29, 2021.




                                         33
      129.   The figure below summarizes the prices of Trivago stock from December

28, 2020 through January 29, 2021.




      130.   The figure below summarizes the prices of Bed Bath & Beyond stock from

December 28, 2020 through January 29, 2021.




                                        34
      131.   The figure below summarizes the prices of Express stock from December

28, 2020 through January 29, 2021.




                                        35
      132.   The figure below summarizes the prices of Tootsie Roll Industries Inc.’s

stock from December 28, 2020 through January 29, 2021.




                                          36
       133.   The figure below summarizes the prices of Blackberry’s stock from

December 28, 2020 through January 29, 2021.




       134.   The tremendous growth of the Relevant Securities’ stock price resulted in

significant and potentially disastrous exposure of institutional investors, and hedge funds,

including the Fund Defendants and their co-conspirators holding short positions in the

Relevant Securities.

       135.   Defendant Citadel Investments, for example, holds a significant interest in

Defendant Melvin Capital (who had the illegal naked 140% short position) and was

forced to inject around $3 billion along with another fund, Point72, to bailout Melvin

Capital from its distressed short position.

       136.   In essence, small Retail Investors concluded that institutional investors had

severely undervalued the Relevant Securities by shorting them, presenting a good


                                              37
investment opportunity. By investing in the undervalued Relevant Securities, the Retail

Investors were outfoxing Wall Street at its own game.

                                    The Illegal Scheme

       137.   Defendants hatched an anticompetitive scheme to limit trading in the

Relevant Securities rather than compete and invest in opportunities in the market to

recoup the loss in their short positions that the growth in the Relevant Securities’ prices

represented, or pay the price for their highly speculative, and failed, gamble.

       138.   After the market closed on Wednesday, January 27, 2021, after-hours

revealed suspicious coordinated trading activity. After-hours trading is not permitted for

individual Retail Investors and is restricted to institutional investors such as hedge funds.




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Analytics revealed a significant volume of GME short volume immediately prior to the

markets opening on Thursday, January 28, 2021, i.e., after-hour traders were taking more

short positions suggesting after-hour traders were trading in anticipation of a GME sell-

off. The grey lines in chart below represent the volume of short positions in GME. As

demonstrated by the grey lines below, the volume of short positions was much higher

before January 28, 2021 than any of the prior days and had steadily increased the week

prior.

         139.   As described above, Retail Investors cannot engage in after-hours trading.

This exponential increase in short volume is likely the result of institutional investors,

like the Fund Defendants, taking new short positions.

         140.   The dramatic increase in short positions was counterintuitive. Chatter in

various financial discussion forums indicated high excitement and motivation on the part

of Retail Investors to continue investing in the Relevant Securities. Many Retail Investors

announced plans to increase positions in the Relevant Securities on January 28, 2021,

which would mean the prices for the Relevant Securities were likely to go up, not down.

                        The Events of Thursday, January 28, 2021

         141.   As the markets opened on January 28, 2021, the Retail Investors woke up

to find the Brokerage Defendants and other unnamed brokerages had suddenly and

without notice restricted their ability to buy long positions in the Relevant Securities.

Pursuant to the anticompetitive scheme, the Brokerage Defendants implemented these

changes on or about the same time. It would not have been in their economic interest to




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do so, but for the illegal conspiracy.

       142.    Retail Investors using Robinhood as their brokerage could no longer click

on the “buy” option for any of the Relevant Securities. The “buy” button was deactivated

as a feature, leaving users with no option but to sell their securities.

       143.    Defendant Robinhood addressed the “Why don’t I see a buy button?”

question on its website here: https://robinhood.com/us/en/support/articles/why-dont-i-see-

a-buy-button/ by offering three reasons why the buy button was disabled on a user’s

account. The three stated reasons were: a) “It’s a foreign stock, which we don’t support.”

b) “It’s an over-the-counter (OTC) stock or a warrant, which Robinhood generally

doesn’t support.” c) “It’s a stock undergoing corporate action. The stock will be tradable

again once the corporate action has been finalized.” Defendant Robinhood’s explanation

was nonsense because the Relevant Securities were not foreign stocks, OTC stocks, or

stocks undergoing corporate actions during the Class Period. This explanation was

incomplete and untrue.




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       144.   Retail Investors who had queued purchase orders overnight on January 27,

2021 to purchase stock when the markets opened on January 28, 2021 discovered their

purchase orders had been cancelled without their consent. Some received messages that

claimed “You canceled your order” despite having never having affirmatively done so.




       145.   The restrictions on trading took different forms but had the same effect.

Retail Investors were prohibited from opening new long positions in the Relevant

Securities. In other words, Retail Investors were not permitted to purchase new positions

but were only permitted to sell their long positions.




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       146.   On Defendant Robinhood’s web platform and mobile app, Retail Investors

were blocked from searching for the Relevant Securities in Robinhood’s app. In fact,

their respective ticker symbols were not even searchable by Retail Investors. The market

was essentially shut down with the purpose of benefitting the participants in the




conspiracy and with the intent to harm Plaintiffs and the members of the Class.

       147.   Defendant Stash prohibited users from viewing tickers for the Relevant

Securities, and Stash’s pages only displayed loading graphics. Other tickers were under

no such restriction and were easily searchable on the platform. Because of the Stash

platform’s design, a Retail Investor who cannot view the page for a particular asset




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cannot trade in that asset. As a result, Retail Investors were unable to access the page for

the Relevant Securities to open new long positions in the Relevant Securities.

       148.    While there had been reports of increasing government attention from the

SEC and even the administration in relation to these rapidly increasing prices of the

Relevant Securities, there was no formal governmental guidance issued to restrict trading

in these stocks in advance of January 28, 2021.

       149.    Reporting throughout January 28, 2021, revealed the ban on purchasing

stock of the Relevant Securities was widespread among brokerages. On information and

belief, the Brokerage Defendants adopted similar, if not identical, restrictions to Retail

Investors from opening new positions in all, or at least one or more of the Relevant

Securities. It is unlikely they would have done so, but for the conspiratorial agreement.

The market was essentially shut down with the purpose of benefitting the conspiracy

participants to the detriment of Plaintiffs and the members of the Class.

       150.    Pursuant to the illegal anticompetitive conspiracy, the coordinated

prohibition on buying any new Relevant Securities—through the Brokerage Defendants’

forced foreclosure on Retail Investors from buying Relevant Securities—led to a massive

sell-off. This resulted in a steep decline in the stock prices for the Relevant Securities.

       151.    For example, on January 28, 2021, Gamestop’s stock fell 44.11% and

closed at $193.60 per share. Retail Investors who wanted to take advantage of the price

drop to buy more stock were prohibited because of the coordinated ban on purchasing.

       152.    The prohibition on purchasing stock did not apply to all investors. Large

investment firms such as the Fund Defendants faced no restrictions to purchasing the


                                              43
Relevant Securities. Whereas Retail Investors were excluded from purchasing securities

at the reduced rate. Investment firms holding short positions were permitted to cover their

short positions by buying securities at the artificially reduced price.

          153.   The coordinated prohibition on purchasing placed on Retail Investors

quickly resulted in scrutiny from journalists and lawmakers. Defendant Robinhood in

particular drew criticism from lawmakers on both sides of the aisle, including calls for

congressional and DOJ investigation.

          154.   On January 29, 2021, the SEC issued a formal letter announcing it was

investigating the Defendants’ actions of January 28, 2021.

          155.   Robinhood’s conflict-ridden relationship with the Fund Defendants quickly

came to light. In addition to its financial interest in Defendant Melvin Capital, it was

revealed Defendant Citadel regularly worked closely with Defendant Robinhood, serving

as Defendant Robinhood’s market maker over 60% of the time.

          156.   Defendant Citadel also pays Defendant Robinhood for order flow. Payment

for order flow is a kickback a brokerage firm receives for directing orders to third party-

market makers, like Citadel, for trade execution.

          157.   Reporting revealed Defendant Citadel had “reloaded” their short positions

before instructing Defendant Robinhood to prohibit the purchases of Gamestop and other

stocks.

          158.   Employees of the Brokerage Defendants began to emerge as

whistleblowers in online forums. A purported Robinhood employee reported on Reddit

that Robinhood’s founder, and other c-level executives, had received calls from


                                              44
Defendant Sequoia Capital pressuring Robinhood into restricting trading in one or more

of the Relevant Securities.

       159.   Other brokerage firms took other overt acts in furtherance of the

anticompetitive scheme. Certain brokerages sold off long positions in stocks without the

permission of the investor.

       160.   On January 28, 2021, the technology news website, The Verge, announced

several Retail Investors complained GME and AMC stock purchases filled by

Robinhood, were later sold by Robinhood without the Retail Investors’ knowledge or

permission. Another Retail Investor reported a purchase of Naked Brand stock (NAKD)

had been filled but subsequently sold without their consent. While Robinhood had

warned investors that it may automatically sell off option contracts or assets purchased on

margin, these investors denied they had purchased stocks on margin and did not purchase

option contracts. These Retail Investors had purchased cash positions in the Relevant




Securities that were sold off without their knowledge or consent.

       161.   Defendants were aware they were colluding to manipulate the market. In



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an interview given by Defendant Interactive Brokers’ chairman Thomas Peterffy, Mr.

Peterffy admitted Interactive Brokers restricted trading in order to “protect ourselves.”

       162.    The anticompetitive conspiracy was authorized, ordered, or performed by

the Defendants’ respective officers, agents, employees, representatives, or shareholders

while actively engaged in the management, direction, or control of the Defendants’

businesses or affairs.

       163.    At least 18 brokerages together prohibited Retail Investors from opening

new positions in GME, AMC and other Relevant Securities on January 28, 2021. Some

restricted Retailer Investors from opening new long positions in securities wholesale,

whereas others restricted purchasing options only. No brokerages restricted selling of

Relevant Securities by any investor, whether by a retail investor or large institutional

investor.

       164.    Not all brokerages banned the purchase of the Relevant Securities. Even in

the cases where brokerages were allowing Retail Investors to open new long positions,

however, the Clearinghouse Defendants began to raise fees to purchase securities or

otherwise instruct brokerages to not consummate purchase orders.

       165.    Brokerages route trades through clearinghouses which streamlines the

trading process. Some brokerages, such as Defendant Robinhood, serve as their own

clearinghouse. By increasing fees to purchase a particular stock, the clearinghouse can

suppress the number of purchases of that stock and affect the stock’s price.

       166.      e Clearinghouse Defendants raised the fees for consummating purchases

of the relevant stocks to the non-conspiring brokerages, further facilitating the Fund


                                             46
Defendants covering of their short positions in furtherance of the conspiracy.

       167.    Nondefendant brokerage SoFi momentarily had trading in the Relevant

Securities forcibly suspended by Clearinghouse Defendant Apex.




       168.    SoFi quickly objected to Defendant Apex’s attempt to restrict trading in the

Relevant Securities on SoFi’s platform and trading was soon permitted on SoFi without

restriction.

       169.    Anthony Denier, the CEO of Defendant WeBull Financial LLC, a

brokerage which had restricted trading in the Relevant Securities, placed the blame

squarely on its clearinghouse, Defendant Apex Clearing, for the restrictions on trading the

stocks. According to Denier, the collateral required by Apex for Gamestop increased by


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100% and Apex had informed him that WeBull needed to shut off the ability to open new

positions in certain stocks. Denier further said the restrictions originated the morning of

January 28, 2021 and was informed that Apex was instructed by the Defendant

Depository Trust & Clearing Corporation that it was increasing the collateral needed to

settle trades for the Relevant Securities.

       170.    Denier further said the restrictions originated the morning of January 28,

2021 and was informed Defendant Apex was instructed by Defendant Depository Trust &

Clearing Corporation that it was increasing the collateral needed to settle trades for stocks

such as Gamestop.

       171.    Other brokerages such as Defendants Ally Financial Inc., M1 Finance,

Tastyworks, and Public.com also reported that Defendant Apex had halted all opening

transactions of Gamestop, AMC and Koss, which they blamed for trading restrictions of

the Relevant Securities on their platforms.

       172.    Similarly, Defendant Freetrade blamed Clearinghouse Defendant Barclay’s

PLC for its restrictions of the Relevant Securities on its platform.

       173.    Defendant Trading212 uses Defendant Interactive Brokers as its

intermediary and said Defendant Interactive Brokers was at fault for Defendant

Freetrade’s restrictions on the Relevant Securities.

       174.    Defendants’ conspiratorial acts resulted in lockstep price movements of the

Relevant Securities that can only be explained by coordinated lockstep actions by

Defendants, in particular when considering Retail Investors were only permitted to sell

positions in the Relevant Securities.


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       175.   As demonstrated by the charts below, the stock prices of the Relevant

Securities moved almost in parallel with each other throughout January 28, 2021. The

charts revealed a coordinated rise in the prices of the Relevant Securities at

approximately 11:00-11:30 a.m. after the Relevant Securities took a steep dive after the

markets opened. At that time, few if any Retail Investors were permitted to purchase

positions in the Relevant Securities and only institutional investors such as the Fund

Defendants were permitted to purchase.




                         The Anticompetitive Scheme is Ongoing

       176.   Even in the face of increased scrutiny, Defendants continued their

anticompetitive scheme to suppress the price of the Relevant Securities.

       177.   Partly as a result of criticism, the Brokerage Defendants nearly all


                                             49
permitted Retail Investors to open new long positions in the Relevant Securities as the

market opened on January 29, 2021.

       178.   Defendant Freetrade, a brokerage based in the United Kingdom, citing

concerns from its foreign exchange provider, restricted trades in United States securities

altogether on January 29, 2021, after restricting purchases on January 28, 2021.

       179.   While purchases were permitted, they were heavily restricted by the

Brokerage Defendants. Nevertheless, Retail Investors, still believing in the value of these

assets, continued to purchase stock in the Relevant Securities once they were permitted

to.




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      180.    Many of the Brokerage Defendants restricted trading of long option

contracts and announced to Retail Investors they would close out their profitable option

positions automatically.

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       181.      e Relevant Securities began to regain the value lost the prior day as a

result of Defendants’ coordinated action to suppress the value of the stocks.

       182.   Because the Fund Defendants and other unnamed conspirators still had

distressed short positions outstanding, this threatened their ill-gotten gains achieved the

day before.

       183.   Defendant Robinhood limited users to purchasing a limited amount of

stock. With respect to Gamestop, for example, Defendant Robinhood ﬁrst restricted

Retail Investors to purchasing only ﬁve shares of Gamestop, which resulted in a rapid

decline in the value of Gamestop. As Gamestop’s stock price recovered, Defendant




Robinhood further limited purchases to two shares.

       184.   When the value of Gamestop again began to recover, Defendant

Robinhood later instituted a one share limit to acquisitions of Gamestop, further causing

the value of Gamestop to decrease.

       185.   Brokerage Defendants instituted similar restrictions as to other Relevant

Securities.




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      186.    Each artiﬁcial limitation in the amount of securities a Retail Investor could

purchase correlated with a subsequent decrease in stock value. As purchases of the

Relevant Securities were limited, more investors were pressured to sell who otherwise

would not have in the presence of a free and open market.

      187.      e full extent and scope of the conspiracy is still as of yet unknown.

Plaintiﬀs believe the anticompetitive scheme is ongoing. In the evening of January      ,

    , Defendant Robinhood announced it was increasing the number of restricted stocks



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from    to     . On January   ,     , Reuters reported that Defendant IG Group was

continuing to suspend trading in the Relevant Securities.

              Defendants’ Customer Agreements Are Not a License to Defraud


       188.     It is expected that the Defendants, particularly the Brokerage Defendants,

will argue that the customer agreements Plaintiﬀs and the members of the class executed

to open brokerage accounts contain agreements wherein they expressly agreed to hold the

Brokerage Defendants harmless for any interruptions of service, regardless of the cause,

and/or agreed that the Brokerage Defendants could prohibit or restrict trading at their

discretion.    ese “hedge clauses” have been deemed per se violations of the federal

securities laws by the SEC and void as against public policy.1

       189.     A hedge clause is a contractual provision that many brokerage and

investment ﬁrms include in their client agreements to limit the ﬁrms’ liability from their

acts of malfeasance. Since        the SEC has deemed these types of clauses improper and

their inclusion per se violations of the federal securities laws.

       190.     Many of the Defendants have employed such clauses holding themselves

immune from liability and absolving themselves for the acts alleged herein, essentially

giving the Defendants a license to defraud and perpetrate the anticompetitive scheme

putting their interests above those of their customers.

       191.     As well as being impermissible by the SEC, the hedge clauses within the


1
  Investment Advisors Act Release No. 58, 1951 WL 1363 (Apr. 10, 1951) (further
ratified by Investment Advisors Act Release No. 5248, 2019 WL 3779889 (June 5,
2019)).

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customer agreements are void as against public policy. Indeed, there exists, pursuant to

federal and state securities laws as well as self-regulatory organizations, public policy to

hold broker-dealers accountable for their actions and ensure the protection of the

investing public. To allow the Defendants to use these improper indemniﬁcation clauses

to shield themselves from liability would directly contravene this policy.

                                  CLAIMS FOR RELIEF

                                     COUNT ONE
                       CONSPIRACY TO RESTRAIN TRADE
              IN VIOLATIONOF SECTION OF THE SHERMAN ACT,
                                         U.S.C. §
                                (Against All Defendants)
         192. Plaintiﬀs hereby incorporate by reference the factual allegations as set forth

above.

         193.   On information and belief, the Defendants conspired and entered into an

anticompetitive scheme to ﬁx, raise, stabilize, maintain, or suppress the price of the

Relevant Securities.

         194.   Faced with potentially disastrous losses due to their illegal short position,

the Fund Defendants, rather than engage in competition, conspired, combined, agreed,

and colluded with the Brokerage Defendants and Clearinghouse Defendants to restrict

purchases in stocks by retailer investors and to manipulate and artiﬁcially suppress the

price of stock, through which they could cover their short positions.

         195.   Defendants conspired and agreed with one another with the intent to

artiﬁcially lower the price of the relevant stocks.

         196.   Defendants coordinated a collective shutdown of the stock brokerage



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market with respect to the Relevant Securities, prohibiting market participants with the

exception of the Fund Defendants from purchasing stock in the Relevant Securities.

Pursuant to the conspiracy, the restriction of stock purchases resulted in a sell-oﬀ of

stocks, driving down prices in the Relevant Securities to levels that would not have been

obtained, but for the conspiracy, combination, agreement, and restraint of trade.

         197.   In furtherance of the conspiracy, combination, agreement, and restraint of

trade, on January    ,     , after the close of the stock market and before the open of the

market the next day, the Fund Defendants coordinated and planned increased short

volumes in anticipation of short calls on January     ,     .

         198.   In furtherance of the conspiracy, combination, agreement and restraint of

trade, the Brokerage Defendants have prohibited, continue to prohibit, or unreasonably

restrict the purchases of shares of the Relevant Securities by Plaintiﬀs in restraint of

trade.

         199.   As a direct and intended result of Defendants’ contract, combination,

agreement, and restraint of trade or conspiracy, Defendants caused injury to Plaintiﬀs by

restricting purchases of Relevant Securities.     e Brokerage Defendants deactivated the

buy option on their platforms, thereby preventing Class members from purchasing stock

in the Relevant Securities.

         200.   Pursuant to the contract, combination, agreement, conspiracy, and restraint

of trade, the Brokerage Defendants permitted the Fund Defendants to purchase stocks at

the artiﬁcially deﬂated prices.   e Fund Defendants, who were in exposed short positions

due to the short squeeze, purchased the artiﬁcially price-suppressed stocks to cover their


                                             56
short positions.

         201.   Not all brokerages joined in the anticompetitive scheme with the Brokerage

Defendants. To induce compliance and to limit the eﬀects non-complying brokerages

could have in disrupting Defendants’ anticompetitive scheme, the Clearinghouse

Defendants raised the fees and/or removed the ability to ﬁll purchases of the Relevant

Securities to the non-conspiring brokerages, further facilitating the Fund Defendants

covering of their short positions in furtherance of the conspiracy.

         202.   Defendants’ anticompetitive and unlawful conduct is per se illegal.

         203.   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiﬀs

and Class members were injured in their business and property.

         204.   Plaintiﬀs and the Class further seek equitable and injunctive relief pursuant

to Section      of the Clayton Act,   U.S.C. §     , and other applicable law, to correct the

anticompetitive eﬀects caused by Defendants’ unlawful conduct.

                               COUNT TWO
                     CONSPIRACY TO RESTRAIN TRADE
          IN VIOLATION OF THE MINNESOTA ANTITRUST LAW OF
                        Minn. Stat. §§    D. , et seq.
                           (Against All Defendants)
         205.   Plaintiﬀs hereby incorporate by reference the factual allegations as set forth

above.

         206.   On information and belief, the Defendants and their conspirators entered

into an unlawful agreement and engaged in a continuing unlawful trust in restraint of

trade and commerce as described herein in violation of Minn. Stat. §§         D. , et seq., to

ﬁx, stabilize, maintain, or suppress the price of the Relevant Securities.


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       207.   Faced with potentially disastrous losses due to their illegal short position,

the Fund Defendants, rather than engage in competition, conspired, combined, agreed and

colluded with the Brokerage Defendants and Clearinghouse Defendants to restrict

purchases in stocks by retailer investors and to manipulate and artiﬁcially suppress the

price of stock, through which they could cover their short positions.

       208.   Defendants conspired and agreed with one another with the intent to

artiﬁcially lower the price of the Relevant Securities. Defendants agreed to pool,

combine, or directly or indirectly unite their interests such that the price of the Relevant

Securities would be ﬁxed, stabilized, maintained, and/or suppressed.

       209.   Defendants coordinated a collective shutdown of the stock brokerage

market with respect to the Relevant Securities prohibiting market participants with the

exception of the Fund Defendants from purchasing stock in the Relevant Securities.

Pursuant to the conspiracy, the restriction of stock purchases resulted in a sell-oﬀ of

stocks, driving down prices in the Relevant Securities to levels that would not have been

obtained, but for the conspiracy, combination, agreement, and restraint of trade.

       210.   In furtherance of the unlawful trust and restraint of trade, on January     ,

    , after the close of the stock market and before the open of the market the next day,

the Fund Defendants coordinated and planned increased short volumes in anticipation of

short calls on January   ,     .

       211.   In furtherance of the unlawful trust and restraint of trade, the Brokerage

Defendants have prohibited, restricted, and continue to prohibit and unreasonably restrict

the purchases of shares of the Relevant Securities by Plaintiﬀs in restraint of trade.


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          212.   As a direct and intended result of Defendants’ contract, combination,

agreement, and restraint of trade or conspiracy, Defendants caused injury to Plaintiﬀs by

restricting purchases of Relevant Securities.       e Brokerage Defendants deactivated the

buy option on their platforms, thereby preventing Class members from purchasing stock

in the Relevant Securities.

          213.   Pursuant to the unlawful trust and restraint of trade, the Brokerage

Defendants permitted the Fund Defendants to purchase stocks at the artiﬁcially deﬂated

prices.     e Fund Defendants, who were in exposed short positions due to the short

squeeze, purchased the artiﬁcially price-suppressed stocks to cover their short positions.

          214.   Not all brokerages joined in the anticompetitive scheme with the Brokerage

Defendants. To induce compliance and to limit the eﬀects non-complying brokerages

could have in disrupting Defendants’ anticompetitive scheme, the Clearinghouse

Defendants raised the fees for consummating purchases of the relevant stocks to the non-

conspiring brokerages, further facilitating the Fund Defendants covering of their short

positions in furtherance of the conspiracy.

          215.   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiﬀs

and Class members were injured in their business and property.

          216.   Plaintiﬀs and the Class seek treble damages and their cost of suit, including

attorneys’ fees, equitable and injunctive relief pursuant to Minn. Stat. §§     D. , et seq.,

and other applicable law, to correct the anticompetitive eﬀects caused by Defendants’

unlawful conduct.




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                            COUNT THREE
    BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR
                               DEALING
                  (Against the Brokerage Defendants)
         217.   Plaintiﬀs hereby incorporate by reference the factual allegations as set forth

above.

         218.   Plaintiﬀs and members of the Class entered into agreements with the

Brokerage Defendants.       ey agreed to Brokerage Defendants’ Terms and Conditions by

using the Brokerage Defendants’ websites, apps, and trading platforms.

         219.   Plaintiﬀs and members of the Class fulﬁlled and performed their

obligations under these contracts by adhering to their terms and using Brokerage

Defendants’ trading services through its website and trading platform.

         220.     e Brokerage Defendants impliedly promised they would not do anything

to unfairly interfere with the rights of any other party to receive the beneﬁts of the

contract.

         221.     e Brokerage Defendants did not act in good faith or with honesty of

purpose. To the contrary, they acted with the intention of misleading, or taking unfair

advantage, of Plaintiﬀs and the Class. by failing to provide services it agreed to provide,

mainly facilitating Plaintiﬀs and the class ability to trade Relevant Securities.

         222.   Plaintiﬀs and all those similarly situated were permitted to, and actually

did, trade Relevant Securities via the Brokerage Defendants’ websites, apps, and trading

platforms prior to implementation of      e Conspiracy.

         223.     e Brokerage Defendants unfairly interfered with the rights of Plaintiﬀs to



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receive the beneﬁts of the agreements by, among other things: (i) failing to provide

services necessary to carry out a trade; (ii) failing to provide certain trading services

whatsoever; (iii) failing to inform individuals in a timely member of the drastic changes

in trading abilities; and (iv) prohibiting plaintiﬀs from buying Relevant Securities for the

Brokerage Defendants own interest and not disclosing those interest to Plaintiﬀs and all

Class members.

         224.     e Brokerage Defendants’ conduct has caused Plaintiﬀs and members of

the Class harm, losses, and damages.

                                      COUNT FOUR
                                      NEGLIGENCE
                            (Against the Brokerage Defendants)
         225.   Plaintiﬀs hereby incorporate by reference the factual allegations as set forth

above.

         226.     e Brokerage Defendants had a common law duty to exercise reasonable

care in conducting and facilitating transactions for its customers.

         227.     e Brokerage Defendants had a common law duty to exercise reasonable

care in providing trades on the free and open market for its customers.

         228.     e Brokerage Defendants unlawfully breached their duties by, among

other things, (i) removing the Relevant Securities without notice from their websites,

apps and trading platforms; (ii) failing to provide ﬁnancial services related to Relevant

Securities; and (iii) failing to notify Retail Investors in a timely manner of the prohibition

in purchasing of the Relevant Securities.

         229.     e Brokerage Defendants’ conduct departed from the ordinary standard of


                                              61
care expected of a stockbroker. If volatility was truly a concern, trading entirely should

have been halted in the Relevant Securities. Instead, the Brokerage Defendants permitted

Retail Investors to only sell their positions in the Relevant Securities. Further, non-Retail

Investors were permitted to trade in the Relevant Securities without restriction.

         230.     e Brokerage Defendants breached their duty of care to the Retail

Investors by selectively restricting purchases of Relevant Securities to the Retail

Investors who wanted to purchase stock in the Relevant Securities.

         231.   Brokerage Defendants negligent and wrongful breaches of its duties owed

to Plaintiﬀs and Class members proximately caused losses and damages that would not

have occurred but for the Brokerage Defendants’ gross breach of their duty of care.

         232.   Plaintiﬀs and Class members suﬀered actual injury as a result of Brokerage

Defendants’ breach of their duty.

         233.   Plaintiﬀs and Class members’ injury was proximately and directly caused

by Brokerage Defendants breach of their duty.

                                       COUNT FIVE
                                 NEGLIGENCE PER SE
                            (Against the Brokerage Defendants)
         234.   Plaintiﬀs hereby incorporate by reference the factual allegations as set forth

above.

         235.     e Brokerage Defendants had a statutory duty to exercise reasonable care

in conducting and facilitating transactions for its customers.

         236.     e Brokerage Defendants had a statutory duty to exercise reasonable care

in providing trades on the free and open market for its customers.


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       237.      e Brokerage Defendants unlawfully breached their duties by, among

other things, (i) removing the Relevant Securities without notice from their websites,

apps and trading platforms; (ii) failing to provide ﬁnancial services related to Relevant

Securities; and (iii) failing to notify Retail Investors in a timely manner of the prohibition

in purchasing of the Relevant Securities.

       238.      e Brokerage Defendants’ conduct departed from the ordinary standard of

care expected of a stockbroker. If volatility was truly a concern, trading entirely should

have been halted in the Relevant Securities. Instead, the Brokerage Defendants permitted

Retail Investors to only sell their positions in the Relevant Securities. Further, non-Retail

Investors were permitted to trade in the Relevant Securities without restriction.

       239.      e Brokerage Defendants breached its duty of care by selectively

restricting purchases of Relevant Securities to the Retail Investors who wanted to

purchase more stock in the Relevant Securities.

       240.      e Brokerage Defendants’ negligent and wrongful breaches of the duties

owed to Plaintiﬀs and Class members proximately caused losses and damages that would

not have occurred but for the Brokerage Defendants’ gross breach of their duty of care.

       241.   Plaintiﬀs and Class members suﬀered actual injury as a result of Brokerage

Defendants’ breach of their duty.

       242.   Plaintiﬀs and Class members’ injury was proximately and directly caused

by Brokerage Defendants’ breach of their duties.




                                             63
                                       COUNT SIX
                             BREACH OF FIDUCIARY DUTY
                            (Against the Brokerage Defendants)
         243.   Plaintiﬀs hereby incorporate by reference the factual allegations as set forth

above.

         244.   As licensed providers of ﬁnancial services, the Brokerage Defendants at all

relevant times herein were ﬁduciaries to the Plaintiﬀs and Class members and owed them

the highest good faith and integrity in performing its ﬁnancial services on their behalf.

Each Brokerage Defendant also acted as a ﬁduciary to each and every customer who

agreed to their respective terms and conditions.

         245.     e Brokerage Defendants breached their ﬁduciary duties to Plaintiﬀs and

Class members by, among other things, failing to disclose its platform was going to

remove Relevant Securities purchases in a timely manner; actually removing Relevant

Securities; removing Relevant Securities for their own pecuniary beneﬁts;

misrepresenting and omitting material information; that the Brokerage Defendants failed

to provide access to its ﬁnancial services in a timely manner; that Brokerage Defendants

failed to comply with all applicable legal, regulatory, and licensing requirements; and that

Brokerage Defendants failed to exercise trades and actions requested by customers in a

complete and timely manner.

         246.     e Brokerage Defendants’ conduct has caused the Plaintiﬀs and Class

members’ harm, losses, and damages and continues to expose them to harm because the

Brokerage Defendants continue to breach their ﬁduciary duties.




                                              64
                                       COUNT SEVEN
                                CONSTRUCTIVE FRAUD
                             (Against the Brokerage Defendants)
         247.   Plaintiﬀs hereby incorporate by reference the factual allegations as set forth

above.

         248.     e Brokerage Defendants had a duty to exercise reasonable care in

conducting and facilitating securities transactions for its customers.

         249.     e Brokerage Defendants owed the Plaintiﬀs and Class members a

ﬁduciary duty to fully disclose material facts as relates to their brokerage relationship.

         250.     e Brokerage Defendants represented to Plaintiﬀs and Class members

they were brokerage services oﬀering free and fair trading in the stock market.

         251.   Plaintiﬀs and Class members chose to use the Brokerage Defendants

websites, apps and trading platforms in part due to assurances that they would be able to

trade on the stock market.

         252.     e Brokerage Defendants subsequently and selective restricted and

limited the securities that Plaintiﬀs and Class members were able to buy on their

websites, apps and trading platforms, contrary to their representations.

         253.   Plaintiﬀs and Class members’ reliance on the Brokerage Defendants’ false

representations were substantial factors in causing Plaintiﬀs’ harm as they were

prohibited from trading freely given the Brokerage Defendants’ restrictions.




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                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiﬀs request the Court enter judgment on their behalf and

on behalf of the Class deﬁned herein, by adjudging and decreeing that:

       254.        is action may proceed as a class action, with Plaintiﬀs serving as Class

Representatives, and with Plaintiﬀs’ counsel as Class Counsel;

       255.   Defendants have contracted, combined, and conspired in violation of

Section of the Sherman Act,        U.S.C. § , and that Plaintiﬀs and the Class have been

injured in their business and property as a result of Defendants’ violations;

       256.   Plaintiﬀs and the Class are entitled to pre-judgment and post-judgment

interest on the damages awarded them, and that such interest be awarded at the highest

legal rate from and after the date this class action complaint is ﬁrst served on Defendants;

       257.   Defendants are to be jointly and severally responsible ﬁnancially for the

costs and expenses of a Court-approved notice program through post and media designed

to give immediate notiﬁcation to the Class;

       258.   Plaintiﬀs and the Class recover their costs of this suit, including reasonable

attorneys’ fees as provided by law;

       259.   Plaintiﬀs and the Class are entitled to equitable relief appropriate to remedy

Defendants’ past and ongoing restraint of trade, including:

              a.       A judicial determination declaring the rights of Plaintiﬀs and the

              Class, and the corresponding responsibilities of Defendants;

              b.       Issuance of a permanent injunction against Defendants and their

              parents, subsidiaries, aﬃliates, successors, transferees, assignees and the


                                              66
              respective oﬃcers, directors, partners, agents, and employees thereof and

              all other persons acting or claiming to act on their behalf from continuing

              and maintaining the conspiracy or agreements herein;

              c.     A constructive trust over any ill-gotten property or assets, including

              but not limited to stocks in the Relevant Securities received as a result of

              the conspiracy or agreement or other wrongful conduct as alleged herein;

       260.   Plaintiﬀs and the Class receive such other or further relief as may be just

and proper.

                             DEMAND FOR JURY TRIAL

       Pursuant to Federal Rule of Civil Procedure         (b), Plaintiﬀs demand a trial by jury

of all the claims asserted in this Complaint so triable.



Dated: March 11, 2021                              Respectfully submitted,


                                                   s/ David A. Goodwin
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                                              67
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68
